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NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


PHIL IZZO,

                       Plaintiff,
                                                         Civil Action No. 15-1262 (MAS) (TJB)
                       v.
                                                             MEMORANDUM OPINION
TOWNSHIP OF RARITAN, et al.,

                       Defendants.


SHIPP, District Judge

       This matter comes before the Court on Plaintiff Phil Izzo' s ("Plaintiff') motion for partial

reconsideration, pursuant to Local Civil Rule 7.1 (i), of the Court's July 28, 2016 Memorandum

Opinion and Order (the "Opinion") (ECF Nos. 29, 30) dismissing with prejudice Counts One

through Four as to Defendant Township of Raritan ("Township"). (ECF No. 31.) Defendants filed

opposition to 'the motion.    (ECF No. 34.)     The Court has carefully considered the parties'

submissions and decides the matter without oral argument pursuant to Local Civil Rule 78.1.

       Reconsideration under Local Civil Rule 7 .1 is an extraordinary remedy that is rarely

granted. Interfaith Cmty. Org. v. Honeywell Int'!, Inc., 215 F. Supp. 2d 482, 507 (D.N.J. 2002).

A motion for reconsideration may be based on one of three separate grounds: ( 1) an intervening

change in controlling law; (2) new evidence not previously available; or (3) to correct a clear error

of law or to prevent manifest injustice. See id. A motion for reconsideration is not an opportunity

to raise new matters or arguments that could have been raised before the original decision was

made. See Bowers v. NCAA, 130 F. Supp. 2d 610, 612-13 (D.N.J. 2001). Nor is a motion for

reconsideration an opportunity to "ask the court to rethink what it ha[ s] already thought through."
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Interfaith Cmty. Org., 215 F. Supp. 2d at 507 (quoting Oritani Sav. & Loan Ass 'n v. Fid. & Deposit

Co., 744 F. Supp. 1311, 1314 (D.N.J. 1990)). "Rather, the rule permits a reconsideration only

when 'dispositive factual matters or controlling decisions of law' were presented to the court but

were overlooked." Id. (quoting Resorts Int'/, Inc. v. Greate Bay Hotel and Casino, Inc., 830 F.

Supp. 826, 831 (D.N.J. 1992)).

       Plaintiff moves for reconsideration arguing that the Court overlooked: (1) the factual matter

that "Plaintiff is not an at-will employee, but rather statutorily appointed to a four-year term" under

N.J.S.A. 52:27d-126(b); and (2) the controlling decision oflaw by New Jersey Appellate Division

in Voges v. Borough of Tinton Falls, 268 N.J. Super. 279 (App. Div. 1993). (Pl.'s Moving Br. 5,

ECF No. 31-1.) In the Complaint, Plaintiff asserts the following claims against the Township:

"(1) breach of contract under N.J.S.A. 40A:62-6(b)(5); (2) common law breach of

contract/wrongful discharge; (3) violation of the Civil Rights Act, 42 U.S.C. § 1983; [and] (4)

violation of the New Jersey Civil Rights Act, N.J.S.A. 10:6-2." (Memo. Op. 3, July 28, 2016, ECF

No. 29.) In the Opinion, the Court, based on the Third Circuit's decision in Miller v. Township of

Readington, 39 F. App'x 774 (3d Cir. 2002), held that "by pleading that Plaintiff's employment is

governed by N.J.S.A. 40A:62, Plaintiff fails to rebut the presumption of at-will employment." Id.

As such, the Court dismissed Counts One through Four as to the Township with prejudice. Id.

        In the Complaint, Plaintiff asserts that he was appointed to the positions of "Fire Sub-Code

Official" and "Construction Official" of the Township of Raritan. (Compl.          ~   12, ECF No. 1.)

Nowhere in Plaintiff's Complaint does he reference N.J.S.A. 52:27d-126(b), which is part of the

Uniform Construction Code Act.         Instead, Plaintiff's first reference to this provision of the

Uniform Construction Code Act is in the factual background section of his opposition brief to the

motion to dismiss. (See Pl. 's Opp'n Br. 2, ECF No. 28.) Therefore, based on the allegations as




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contained in the Complaint, the Court found that Plaintiff failed to rebut the presumption of at-will

employment because his position was not one of the listed positions excluded from at-will

employment under N.J.S.A. 40A:62. The Court, however, overlooked Plaintiffs reference to

N.J.S.A. 52:27d-126(b) in his opposition brief when it dismissed Counts One through Four with

prejudice, as these claims may not be futile based on Plaintiffs reference to N.J.S.A. 52:27d-

126(b). A plaintiff may not amend his complaint through his opposition to a motion to dismiss

and a court need not consider these allegations in determining whether a plaintiff has stated a claim

for relief. See Com. of Pa. ex rel. Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988)

(stating that a complaint may not be amended by briefs in opposition to a motion to dismiss). Even

though Plaintiff could not amend his Complaint through his references to N.J.S.A. 52:27d-126(b)

in his opposition brief, the Court will grant Plaintiffs motion for reconsideration, and now dismiss

Counts One through Four of Plaintiffs Complaint as to the Township without prejudice. Through

an amended complaint, Plaintiff may rep lead a sufficient cause of action based on his appointment

under N.J.S.A. 52:27d-126(b). An order consistent with this Memorandum Opinion will be

entered.


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                                                              UNITED STATES DISTRICT JUDGE

Dated: September t;1i16




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